Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 1 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 2 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 3 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 4 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 5 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 6 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 7 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 8 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 9 of 10
Case 19-41355-JJR7   Doc 1    Filed 08/15/19 Entered 08/15/19 10:28:44   Desc Main
                             Document      Page 10 of 10
